  Case 23-17836-SLM                Doc 25 Filed 10/13/23 Entered 10/14/23 00:19:04                                Desc Imaged
                                        Certificate of Notice Page 1 of 3
Form 148 − ntcdsmcs

                                   UNITED STATES BANKRUPTCY COURT


District of New Jersey
MLK Jr Federal Building
50 Walnut Street
Newark, NJ 07102

                                         Case No.: 23−17836−SLM
                                         Chapter: 13
                                         Judge: Stacey L. Meisel

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Dorothy W Simons
   aka The Estate of Dorothy W. Simmons
   207 2nd Street
   Englewood, nj 07631
Social Security No.:
   xxx−xx−1490
Employer's Tax I.D. No.:
   93−6680371

                                    NOTICE OF ORDER DISMISSING CASE



      NOTICE IS HEREBY GIVEN that an Order Dismissing the above captioned Case was entered on 10/11/23.

      Any discharge which was granted in this case is vacated. All outstanding fees to the Court incurred by the
dismissed debtor(s) are due and owing and must be paid within seven (7) days from the date of this Order.

      This dismissal may mean that the debtor is ineligible to file another bankruptcy petition for 180 days under 11
U.S.C. § 109(g).




Dated: October 11, 2023
JAN: ntp

                                                                       Jeanne Naughton
                                                                       Clerk
      Case 23-17836-SLM                      Doc 25 Filed 10/13/23 Entered 10/14/23 00:19:04                                             Desc Imaged
                                                  Certificate of Notice Page 2 of 3
                                                              United States Bankruptcy Court
                                                                  District of New Jersey
In re:                                                                                                                 Case No. 23-17836-SLM
Dorothy W Simons                                                                                                       Chapter 13
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0312-2                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Oct 11, 2023                                               Form ID: 148                                                               Total Noticed: 7
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

##               Addresses marked '##' were identified by the USPS National Change of Address system as undeliverable. Notices will no longer be delivered by
                 the USPS to these addresses; therefore, they have been bypassed. The debtor's attorney or pro se debtor was advised that the specified notice was
                 undeliverable.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Oct 13, 2023:
Recip ID                 Recipient Name and Address
db                     + Dorothy W Simons, 207 2nd Street, Englewood, nj 07631-3915
520019005              + Bank of America, NA, 14405 Walters Road, Suite 200, Houston, TX 77014-1345

TOTAL: 2

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                  Notice Type: Email Address                                    Date/Time                 Recipient Name and Address
smg                       Email/Text: usanj.njbankr@usdoj.gov
                                                                                        Oct 11 2023 21:07:00      U.S. Attorney, 970 Broad St., Room 502, Rodino
                                                                                                                  Federal Bldg., Newark, NJ 07102-2534
smg                    + Email/Text: ustpregion03.ne.ecf@usdoj.gov
                                                                                        Oct 11 2023 21:07:00      United States Trustee, Office of the United States
                                                                                                                  Trustee, 1085 Raymond Blvd., One Newark
                                                                                                                  Center, Suite 2100, Newark, NJ 07102-5235
cr                     + Email/Text: RASEBN@raslg.com
                                                                                        Oct 11 2023 21:06:00      Bank of America, N.A., Robertson, Anschutz,
                                                                                                                  Schneid, Crane, 13010 Morris Rd.,, Suite 450,
                                                                                                                  Alpharetta, GA 30004-2001
520023646              + Email/Text: RASEBN@raslg.com
                                                                                        Oct 11 2023 21:06:00      Bank of America, N.A., Robertson, Anschutz,
                                                                                                                  Schneid, & Crane PL, 13010 Morris Rd., Suite
                                                                                                                  450, Alpharetta, GA 30004-2001
520019004              + EDI: LCIPHHMRGT
                                                                                        Oct 12 2023 00:57:00      PHH Mortage, 1 Mortgage Way, Mount Laurel,
                                                                                                                  NJ 08054-4624

TOTAL: 5


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID         Bypass Reason Name and Address
520019006        ##+           KML Law Group PC, 216 Haddon Avenue, Ste 406, Westmont, NJ 08108-2812

TOTAL: 0 Undeliverable, 0 Duplicate, 1 Out of date forwarding address


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
       Case 23-17836-SLM                  Doc 25 Filed 10/13/23 Entered 10/14/23 00:19:04                                       Desc Imaged
                                               Certificate of Notice Page 3 of 3
District/off: 0312-2                                              User: admin                                                            Page 2 of 2
Date Rcvd: Oct 11, 2023                                           Form ID: 148                                                          Total Noticed: 7

the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Oct 13, 2023                                       Signature:           /s/Gustava Winters




                                CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on October 11, 2023 at the address(es) listed
below:
Name                             Email Address
Marie-Ann Greenberg
                                 magecf@magtrustee.com

Sindi Mncina
                                 on behalf of Creditor Bank of America N.A. smncina@raslg.com

U.S. Trustee
                                 USTPRegion03.NE.ECF@usdoj.gov


TOTAL: 3
